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                           IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION


      SAFECO INSURANCE COMPANY OF                  )
      AMERICA,                                     )
                                                   )
                    Plaintiff,                     )   Case No. 4:18-cv-01237-HEA
                                                   )
      v.                                           )
                                                   )
      BLAKE LAUBINGER, CALEB                       )
      LAUBINGER, ZACHARY SMITH, ELLIS              )
      ATHANAS, JR., LYNN GELLERMAN,                )
      and ELLIS ATHANAS, III,                      )
                                                   )
                    Defendants.                    )


                     MOTION FOR ENTRY OF JUDGMENT BY DEFAULT
                     WITH INCORPORATED MEMORANDUM IN SUPPORT

           Plaintiff Safeco Insurance Company of America (“Safeco”), pursuant to Fed. R.

     Civ. P. 55(b)(2), moves for entry of judgment by default on its Complaint for Declaratory

     Judgment against defendants Blake Laubinger and Caleb Laubinger, based upon the

     matters set forth in the Complaint (Doc. 1) and the exhibits thereto, and as more fully set

     forth in Safeco’s Motion for Judgment on the Pleadings, Memorandum in Support thereof,

     and Reply in Support thereof (Doc. Nos. 30, 31, and 35) and the exhibits thereto, which

     are incorporated herein by reference.

I.         INTRODUCTION

           This is an action for declaratory judgment pursuant to 28 U.S.C. § 2201. Safeco

     seeks the Court’s declaration that homeowners’ insurance policies it issued with respect

     to defendants Blake Laubinger, Caleb Laubinger, and Zachary Smith do not provide
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   coverage for claims arising out of the kidnapping, torture, and ransom of Ellis Athanas,

   III.

           Defendants Ellis Athanas, Jr., Lynn Gellerman, and Ellis Athanas, III have made a

   demand upon Safeco for payment of the homeowners’ insurance policy proceeds, and

   have filed a civil action against Blake Laubinger, Caleb Laubinger, and Zachary Smith,

   which is now pending in the Circuit Court for St. Louis County, Missouri. Defendants

   Blake and Caleb Laubinger are in default in this declaratory judgment action; defendants

   Zachary Smith, Ellis Athanas, Jr., Lynn Gellerman, and Ellis Athanas, III have answered.

   Defendants Ellis Athanas, Jr., Lynn Gellerman, and Ellis Athanas, III have responded to

   Safeco’s pending motion for judgment on the pleadings. See Doc. 34.

 II.       LEGAL STANDARD

           Rule 55 of the Federal Rules of Civil Procedure authorizes this Court to enter a

   judgment by default, including costs, “against a defendant who has been defaulted for not

   appearing and who is neither a minor nor an incompetent person.” If the judgment is not

   for a sum certain, a plaintiff may obtain entry of judgment by default by applying to the

   Court to enter judgment. Fed. R. Civ. P. 55(b)(2).

III.       DEFENDANTS BLAKE LAUBINGER AND CALEB LAUBINGER WERE
           PERSONALLY SERVED WITH PROCESS, AND ARE IN DEFAULT.

           Defendant Blake Laubinger was personally served with a Summons and copy of

   the Complaint on August 7, 2018. See Return of Service (Doc. 5), incorporated herein

   by reference.    Blake Laubinger was required to plead or otherwise respond to the

   Complaint on or before August 28, 2018. Mr. Laubinger has failed to answer, otherwise

   respond to the Complaint, or appear in this matter. A Clerk’s Entry of Default was entered

   against him on September 5, 2018. See Docket No. 10.



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          Defendant Caleb Laubinger was personally served with a Summons and copy of

  the Complaint on October 19, 2018. See Return of Service (Doc. 23), incorporated herein

  by reference.     Caleb Laubinger was required to plead or otherwise respond to the

  Complaint on or before November 9, 2018. Mr. Laubinger has failed to answer, otherwise

  respond to the Complaint, or appear in this matter. A Clerk’s Entry of Default was entered

  against him on December 6, 2018. See Docket No. 27.

IV.       THIS COURT HAS OBTAINED PERSONAL JURISDICTION OVER THE
          DEFENDANTS IN DEFAULT.

          Federal courts have general personal jurisdiction over individuals in the states in

  which such individuals are domiciled. Daimler AG v. Bauman, 571 U.S. 117, 137 (2014).

  “[T]he domicile of an individual is his true, fixed and permanent home and place of

  habitation.” Vlandis v. Kline, 412 U.S. 441, 454 (1973). Both Blake Laubinger and Caleb

  Laubinger are presently incarcerated, but are citizens of the State of Missouri and were

  homeowners in Missouri at the time of the events described in the Complaint.

  See Complaint (Doc. 1), ¶¶ 2-3; see also Homeowners’ insurance policies, attached to

  the Complaint as Exhibits 13 and 14.

          “With respect to the domicile of prisoners, the traditional rule is that a prisoner does

  not acquire a new domicile when he is incarcerated in a different state; instead, he retains

  the domicile he had prior to his incarceration.” Jones v. Hadican, 552 F.2d 249, 250 (8th

  Cir. 1977); Younger v. Fleming, No. 4:16-CV-1559 JAR, 2017 U.S. Dist. LEXIS 10706, at

  *3 (E.D. Mo. Jan. 25, 2017). Accordingly, both Blake Laubinger and Caleb Laubinger are

  domiciled in the State of Missouri, and as individuals are thus subject to this Court’s

  general personal jurisdiction.




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V.       PLAINTIFF IS ENTITLED TO JUDGMENT AGAINST THE DEFAULTING
         DEFENDANTS.

         Once a default is entered, as it has been in this case, a “defendant is deemed to

 have admitted all well pleaded allegations in the complaint.” Taylor v. Ballwin, 859 F.2d

 1330, 1333 (8th Cir. 1988) (internal quotations omitted); see also Bricklayers’ Union Local

 No. 1 v. Dietrich Masonry, LLC, No. 4:07-CV-1469, 2008 U.S. Dist. LEXIS 1111, *7 n.1

 (E.D. Mo. January 7, 2008) (“Because of the defendant’s default, the unopposed

 allegations of the complaint are deemed to be true”). Where the findings and judgment

 are capable of being determined on the basis of facts of record, the Court need not

 conduct an evidentiary hearing to enter judgment by default for the plaintiff. Taylor v.

 Ballwin, 859 F.2d 1330, 1333 (8th Cir. 1988). The Court need not conduct an evidentiary

 hearing here, as the facts of record have been established by virtue of the unopposed

 allegations of the Complaint and exhibits thereto, and the Motion for Judgment on the

 Pleadings, Memorandum in Support thereof, and Reply in Support thereof, and exhibits

 thereto (Doc. Nos. 30, 31, and 35). Safeco does not seek a monetary award, but simply

 declaratory judgment, which can be rendered on the record now before the Court.

         As support for the judgment requested, Safeco incorporates by reference as if fully

 set forth herein its Complaint and exhibits thereto (Doc. 1), and also, specifically, its

 Motion for Judgment on the Pleadings, Memorandum in Support thereof, and Reply in

 Support thereof, and exhibits thereto (Doc. Nos. 30, 31, and 35). For all the reasons set

 forth therein, which are uncontested by Blake Laubinger and Caleb Laubinger, Safeco is

 entitled to judgment against these defendants on its complaint for declaratory judgment

 pursuant to 28 U.S.C. § 2201.




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                                        CONCLUSION

        Accordingly, for the reasons set forth herein and in Safeco’s Complaint (Doc. 1)

and in its Motion for Judgment on the Pleadings, Memorandum in Support thereof, Reply

in Support thereof, and exhibits thereto (Doc. Nos. 30, 31, and 35), Safeco is entitled to

a judgment by default declaring no coverage under the homeowners’ insurance policies

issued by Safeco to defendants Blake Laubinger and Caleb Laubinger for the claims of

Ellis Athanas, Jr., Lynn Gellerman, and Ellis Athanas, III.

        WHEREFORE, Plaintiff Safeco Insurance Company of America respectfully

requests that the Court enter judgment by default against defendants Blake Laubinger

and Caleb Laubinger and in favor of Safeco with respect to the claims against them

herein, and for any and all such further relief as the Court deems just and proper.

                                            BAKER STERCHI COWDEN & RICE, L.L.C.

                                             /s/ Angela M. Higgins
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                                            ATTORNEY FOR PLAINTIFF
                                            SAFECO INSURANCE COMPANY OF
                                            AMERICA



                                CERTIFICATE OF SERVICE

     I certify that I served a copy of the above and foregoing this 5th day of April, 2019, by

filing the same with the Clerk of Court using the CM/ECF system, which will transmit

notice of the filing to all counsel of record.

                                                     /s/ Angela M. Higgins

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